                                    CASE 0:12-cr-00295-PAM-AJB Doc. 19 Filed 12/07/12 Page 1 of 1
                                           CJA 20 APPOINTMENT OF AND AUTHORITY TO PAY COURT ATPOINTED COUNSEL

r. crRJDlsT-/Drv. coDE
      MNX
                                                     PERSON REfRESENTET)
                                                '. FORCIER. ERIC WADE                                                                                             'lh\"iiffdbory
3. MAG. DKT./DEF. NUMBER                                                 4. DIST,   DKTMER NUMBf,R                      5, AP?EALS DKT./DEF. NUMBER                                           6. OTHER        DKT.NUMBER
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7.   IN CASE/MATTER               Of lcn. Nrnc)                          E.   PAYMENT CATEGORY                          9. TYPE PERSON REPRESEMED                                                 IO. REPRr^SENTATION          TYPE
      US v. FORCIER @AMiAJB)                                                  Felony                                        Adult Deferdant                                                         Criminal Case
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       l)   18 924C.F -- VTOLENT                                CRIME/DRUGSA4ACHINE                              cLN
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      332 Minnesota Sreet
      St. Paul          MN      55101
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I9.    CERTIFICATION OF ATTORNEY/PAYEE FOR THE PERTOI} OF SERVICE                                                                       20, APTIOINTMENT TERMINATION DATE                                    21. cAsEDrsPosrTroN
        FROM                                                      TO                                                                        If OTHER THAN CASE COMTLETION

22. CLAIM STATUS i nnrr P.ymcnt                   ! rn.crin pryncnrNurbc. _                                                               O supgr.ncnrj    p.rftn{
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2E. SIGNATURE              OF TIIE PIIISIDINC JUDICIA! OFFICER                                                                                DATE                                                    23.,    JUDCE / MAG. ,UDOE CODE


29. IN COURTCOMP.                        I 30. OUTOFCOURTCOMP. I JI.                                  TRAVEL EXPENSfS                         32. OTHER           EXPENSES                             33. TOTAL AMT. AFTNOVED

34. SIGNATURE OFCHIEF
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